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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION


 MARJORIE TAYLOR GREENE,                   :
                                           :
       Plaintiff,                          :
                                           :
       v.                                  :
                                           :         CIVIL ACTION NO.
 MR. BRAD RAFFENSPERGER, in                :         22-cv-1294-AT
 his official capacity as Georgia          :
 Secretary of State, et al.,               :
                                           :
       Defendants.                         :

                                      ORDER

      As noted in the Court’s docket order of April 11, 2022 and the Notice filed on

April 12, 2022, the hearing officer has extended, at Plaintiff Greene’s request, the

date for the state administrative hearing from April 13, 2022 to April 22, 2022.

Given the additional time available for the Court to rule prior to the

commencement of the administrative hearing and the importance of the issues in

this case to all parties, the Court finds that it would be helpful to the completion of

its review and analysis of this case to obtain additional briefing on the following

issues by noon on April 14, 2022.

      1. At the hearing on Friday, April 8, 2022, Defendants argued that the OSAH

proceeding and subsequent state court appeals process, as outlined in O.C.G.A. §

21-2-5, may fall within the second category of cases to which the Younger

abstention doctrine applies as well as the third category. See Sprint Commc’ns, Inc.
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v. Jacobs, 571 U.S. 69, 73 (2013) (outlining categories of cases that trigger Younger

abstention). The parties are directed to address whether the O.C.G.A. § 21-2-5

process falls within Younger’s second category, and whether that is the case (1)

regardless of the type of challenge raised by a voter, and/or (2) specifically as

applied to the specific circumstances of this case.

      2. Defendants also represented at the April 8 hearing that, in past OSAH

cases involving certain candidate qualifications to seek state office, ALJs had, sua

sponte or upon motion, shifted the burden to the challenger to first demonstrate

that a candidate was not qualified to hold state office. (Hearing Transcript, Doc. 39

at 36-37.) Defendants are directed to provide any easily accessible examples of

such situations as an addendum to their brief.

      The Court DIRECTS all parties to submit briefs on these issues by noon on

Thursday, April 14, 2022. The briefs should be no longer than five pages, except

that the summary examples referenced by Defendants are not included within the

five-page limit.


      IT IS SO ORDERED this 12th day of April, 2022.


                                       ___________________________
                                       AMY TOTENBERG
                                       UNITED STATES DISTRICT JUDGE




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